                        IN THE UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

SWETLIC CHIROPRACTIC &                            )
REHABILITATION CENTER, INC., an                   )
Ohio corporation, individually and as the         )
representative of a class of similarly-situated   )
persons,                                          )   Civil Action No. ___________
                                                  )
                       Plaintiff,                 )   CLASS ACTION
                                                  )
                v.                                )
                                                  )
MEDICOPY SERVICES, INC., a Tennessee              )
corporation,                                      )
                                                  )
                       Defendant.                 )

                                CLASS ACTION COMPLAINT

       Plaintiff, SWETLIC CHIROPRACTIC & REHABILITATION CENTER, INC.

(“Plaintiff”), brings this action on behalf of itself and all others similarly situated, through its

attorneys, and except as to those allegations pertaining to Plaintiff or its attorneys, which

allegations are based upon personal knowledge, alleges the following upon information and

belief against Defendant, MEDICOPY SERVICES, INC. (“Defendant”):

                                    PRELIMINARY STATEMENT

       1.       This case challenges Defendant’s practice of sending “unsolicited advertisements”

by facsimile.

       2.       The federal Telephone Consumer Protection Act of 1991, as amended by the Junk

Fax Prevention Act of 2005 (“JPFA”), 47 USC § 227 (hereafter “TCPA” or the “Act”), and the

regulations promulgated under the Act, prohibit a person or entity from faxing or having an agent

fax advertisements without the recipient’s prior express invitation or permission. The TCPA

provides a private right of action and provides statutory damages of $500 per violation. During




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July and August 2019, Defendant sent Plaintiff three unsolicited fax advertisements in violation

of the TCPA (“the Faxes”), true and correct copies of which are attached hereto as Exhibit A,

and made a part hereof. Upon information and belief, Defendant has sent the Faxes and other

facsimile transmissions of unsolicited advertisements to Plaintiff and the Class in violation of the

TCPA. The Faxes appear to be identical and describe the commercial availability or quality of

Defendant’s property, goods or services, namely, Defendant’s “FREE encrypted portal for the

secure delivery of protected health information . . . .” (Exhibit A). Plaintiff alleges on

information and belief that Defendant has sent, and continues to send, unsolicited advertisements

via facsimile transmission in violation of the TCPA, including but not limited to the

advertisement sent to Plaintiff.

       3.      Unsolicited faxes damage their recipients. A junk fax recipient loses the use of its

fax machine, paper, and ink toner. An unsolicited fax wastes the recipient’s valuable time that

would have been spent on something else. A junk fax intrudes into the recipient’s seclusion and

violates the recipient’s right to privacy. Unsolicited faxes occupy phone lines, prevent fax

machines from receiving authorized faxes, prevent their use for authorized incoming faxes, cause

undue wear and tear on the recipients’ fax machines, and require additional labor to attempt to

discern the source and purpose of the unsolicited message.

       4.      On behalf of itself and all others similarly situated, Plaintiff brings this case as a

class action asserting claims against Defendant under the TCPA. Plaintiff seeks to certify a class

comprising all that were sent the Faxes and other unsolicited fax advertisements that were sent

without prior express invitation or permission and/or without compliant opt-out language (to the

extent the affirmative defense of established business relationship (EBR) is alleged). Plaintiff

seeks statutory damages for each violation of the TCPA and injunctive relief.




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         5.     Plaintiff is informed and believes, and upon such information and belief avers,

that this action is based upon a common nucleus of operative facts because the facsimile

transmissions at issue were and are being done in the same or similar manner. This action is

based on the same legal theory, namely liability under the TCPA. This action seeks relief

expressly authorized by the TCPA: (i) injunctive relief enjoining Defendant, its employees,

agents, representatives, contractors, and affiliates, and all persons and entities acting in concert

with them, from sending unsolicited advertisements in violation of the TCPA; and (ii) an award

of statutory damages in the minimum amount of $500 for each violation of the TCPA, and to

have such damages trebled, as provided by § 227(b)(3) of the Act, in the event willfulness in

violating the TCPA is shown.

                                   JURISDICTION AND VENUE

         6.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 47 U.S.C.

§ 227.

         7.     This Court has personal jurisdiction over Defendant because Defendant is a

Tennessee corporation with its principal place of business in Tennessee, transacts business

within this judicial district, has made contacts within this judicial district, and/or has committed

tortious acts within this judicial district.

         8.     Venue is proper under 28 U.S.C. §§ 1391(b)(1) and (b)(2) because Defendant is a

resident of this judicial district and a substantial part of the events or omissions giving rise to the

claims occurred within this judicial district

                                                PARTIES

         9.     Plaintiff, SWETLIC CHIROPRACTIC & REHABILITATION CENTER, INC.,

is an Ohio corporation.




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       10.     On information and belief, Defendant, MEDICOPY SERVICES, INC., is a

Tennessee corporation with its principal place of business in Nashville, Tennessee. Its registered

agent for service of process is Jan Reese, 213 Overlook Circle, Suite A-3, Brentwood, Tennessee

37027-3291.

                                             FACTS

       11.     During July and August, 2019, Defendant sent three unsolicited facsimiles to

Plaintiff using a telephone facsimile machine, computer, or other device. See Exhibit A.

       12.     The Faxes appear to be identical and state, in part, the following:

                                          ATTENTION

                      CONFIDENTIAL INFORMAITON ENCLOSED
                   TO BE VIEWED BY AUTHORIZED PERSONEL ONLY

                  Any questions regarding this information can be directed to:
                                  MediCopy Services, Inc.
                                TOLL FREE: 866-587-6274
                                    www.MediCopy.net
                 ___________________________________________________

                       ATTENTION HEALTHCARE FACTILITIES

              MediCopy offers a FREE encrypted portal for the secure delivery
                of protected health information. If interested, please email
                                  contact@medicopy.net.

                √ FREE Release of Information Services
                √ FREE Disability/FMLA Form Completion

Exhibit A. The Faxes provide no opt-out instructions.

       13.     Defendant’s website, www.MediCopy.net (last visited 10/17/19), contains the

following:

Home / What We Offer




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Taking a fresh approach to traditional Release of Information services
by offering innovative support to patients, requesting parties and HIM
departments alike.

MediCopy strives to make the Release of Information experience as reliable and efficient
as possible by providing simple and secure HIM solutions. We offer full-service Release of
Information services tailored to Hospitals & Health Systems, as well as Physicians & Group
Practices. Our objective is to assist in the integral role of patient care by providing security
and privacy safeguards during the transfer and handling of medical records - all while
providing exceptional customer service.

        14.    The Faxes advertise the commercial availability and/or quality of Defendant’s

new encrypted portal.

        15.    The Faxes are advertisements under the TCPA and regulations implementing the

TCPA.

        16.    On information and belief, Defendant receives some or all of the revenues from

the sale of the property, goods or services advertised on Exhibit A, and Defendant profits and

benefits from the sale of the property, goods or services advertised on Exhibit A.

        17.    Plaintiff did not give “prior express invitation or permission” to Defendant to send

the Faxes.

        18.    On information and belief, Defendant faxed the same and other unsolicited

facsimile advertisements without compliant opt-out language to Plaintiff and at least 40 other

recipients.

        19.    There is no reasonable means for Plaintiff (or any other class member) to avoid

receiving unauthorized fax advertisements. Fax machines are left on and ready to receive the

urgent communications their owners desire to receive.

        20.    The Faxes do not display a proper opt-out notice as required by 47 C.F.R.

§ 227(b)(1)(C) and 47 C.F.R. § 64.1200(a)(4).




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                               CLASS ACTION ALLEGATIONS

       21.     In accordance with Fed. R. Civ. P. 23(b)(3), Plaintiff brings this class action

pursuant to the TCPA on behalf of the following class of persons:

               All persons who (1) on or after four years prior to the filing of this
               action, (2) were sent telephone facsimile messages of material
               advertising the commercial availability or quality of any property,
               goods, or services by or on behalf of Defendant, and (3) from
               whom Defendant did not obtain “prior express invitation or
               permission” to send fax advertisements, or (4) with whom
               Defendant did not have an established business relationship, or
               (5) where the fax advertisements did not include an opt-out notice
               compliant with 47 C.F.R. § 64.1200(a)(4)(iii) regarding any
               claimed established business relationship.

Excluded from the Class are Defendant, its employees and agents, and members of the Judiciary.

Plaintiff seeks to certify a class which includes, but is not limited to, the Faxes sent to Plaintiff.

Plaintiff reserves the right to amend the class definition upon completion of class certification

discovery.

       22.     Class Size (Fed. R. Civ. P. 23(a)(1)): Plaintiff is informed and believes, and upon

such information and belief avers, that the number of persons and entities of the Plaintiff Class is

numerous and joinder of all members is impracticable. Plaintiff is informed and believes, and

upon such information and belief avers, that the number of class members is at least forty.

       23.     Commonality (Fed. R. Civ. P. 23(a)(2)): Common questions of law and fact

apply to the claims of all class members. Common material questions of fact and law include, but

are not limited to, the following:

               (a)     Whether the Faxes and other faxes sent during the class period constitute

       advertisements under the TCPA and its implementing regulations;

               (b)     Whether Defendant meets the definition of “sender” for direct TCPA

       liability, meaning a “person or entity on whose behalf a facsimile unsolicited



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       advertisement is sent or whose goods or services are advertised or promoted in the

       unsolicited advertisement,” 47 C.F.R. § 64.1200(f)(10);

                 (c)    Whether Defendant had prior express invitation or permission to send

       Plaintiff and the class fax advertisements;

                 (d)    Whether the faxes contain an “opt-out notice” that complies with the

       requirements of § (b)(1)(C)(iii) of the Act, and the regulations promulgated thereunder,

       and the effect of the failure to comply with such requirements;

                 (e)    Whether Defendant should be enjoined from faxing advertisements in the

       future;

                 (f)    Whether Plaintiff and the other members of the class are entitled to

       statutory damages; and

                 (g)    Whether the Court should award treble damages.

       24.       Typicality (Fed. R. Civ. P. 23(a)(3)): Plaintiff’s claims are typical of the claims

of all class members. Plaintiff received the same or similar faxes as the faxes sent by or on behalf

of Defendant advertising the availability or quality of Defendant’s property, goods or services

during the Class Period. Plaintiff is making the same claims and seeking the same relief for itself

and all class members based upon the same federal statute. Defendant has acted in the same or

in a similar manner with respect to Plaintiff and all the class members by sending Plaintiff and

each member of the class the same or similar fax or faxes which did not contain the proper opt-

out language or were sent without prior express invitation or permission.

       25.       Fair and Adequate Representation (Fed. R. Civ. P. 23(a)(4)): Plaintiff will fairly

and adequately represent and protect the interests of the class. Plaintiff is interested in this

matter, has no conflicts, and has retained experienced class counsel to represent the class.




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       26.    Predominance and Superiority (Fed. R. Civ. P. 23(b)(3)): Common questions of

law and fact predominate over any questions affecting only individual members, and a class

action is superior to other methods for the fair and efficient adjudication of the controversy

because:

              (a)     Proof of Plaintiff’s claims will also prove the claims of the class without

       the need for separate or individualized proceedings;

              (b)     Evidence regarding defenses or any exceptions to liability that Defendant

       may assert and attempt to prove will come from Defendant’s records and will not require

       individualized or separate inquiries or proceedings;

              (c)     Defendant has acted and is continuing to act pursuant to common policies

       or practices in the same or similar manner with respect to all class members;

              (d)     The amount likely to be recovered by individual class members does not

       support individual litigation. A class action will permit a large number of relatively small

       claims involving virtually identical facts and legal issues to be resolved efficiently in one

       proceeding based upon common proofs; and

              (e)     This case is inherently manageable as a class action in that:

                      (i)     Defendant identified persons to receive the fax transmissions and it

              is believed that Defendant’s and/or Defendant’s agents’ computers and business

              records will enable Plaintiff to readily identify class members and establish

              liability and damages;

                      (ii)    Liability and damages can be established for Plaintiff and the class

              with the same common proofs;




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                         (iii)   Statutory damages are provided for in the statute and are the same

               for all class members and can be calculated in the same or a similar manner;

                         (iv)    A class action will result in an orderly and expeditious

               administration of claims and it will foster economies of time, effort and expense;

                         (v)     A class action will contribute to uniformity of decisions

               concerning Defendant’s practices; and

                         (vi)    As a practical matter, the claims of the class are likely to go

               unaddressed absent class certification.

              Claim for Relief for Violation of the TCPA, 47 U.S.C. § 227 et seq.

       27.     The TCPA makes it unlawful for any person to “use any telephone facsimile

machine, computer or other device to send, to a telephone facsimile machine, an unsolicited

advertisement . . . .” 47 U.S.C. § 227(b)(1)(C).

       28.     The TCPA defines “unsolicited advertisement” as “any material advertising the

commercial availability or quality of any property, goods, or services which is transmitted to any

person without that person’s prior express invitation or permission, in writing or otherwise.”

47 U.S.C. § 227(a)(5).

       29.     Opt-Out Notice Requirements. The TCPA as amended by the JFPA

strengthened the prohibitions against the sending of unsolicited advertisements by requiring, in

§ (b)(1)(C)(iii) of the Act, that senders of faxed advertisements place a clear and conspicuous

notice on the first page of the transmission that contains the following, among other things

(hereinafter collectively the “Opt-Out Notice Requirements”):




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              (1)     A statement that the recipient is legally entitled to opt-out of receiving

       future faxed advertisements—knowing that he or she has the legal right to request an opt-

       out gives impetus for recipients to make such a request, if desired;

              (2)     A statement that the sender must honor a recipient’s opt-out request within

       30 days and the sender’s failure to do so is unlawful—thereby encouraging recipients to

       opt-out, if they did not want future faxes, by advising them that their opt-out requests will

       have legal “teeth”;

              (3)     A statement advising the recipient that he or she may opt-out with respect

       to all of his or her facsimile telephone numbers and not just the ones that receive a faxed

       advertisement from the sender—thereby instructing a recipient on how to make a valid

       opt-out request for all of his or her fax machines;

              (4)     The opt-out language must be conspicuous.

       The requirement of (1) above is incorporated from § (b)(D)(ii) of the Act. The

requirement of (2) above is incorporated from § (b)(D)(ii) of the Act and the rules and

regulations of the Federal Communications Commission (the “FCC”) in ¶ 31 of its 2006 Report

and Order, 21 F.C.C.R. 3787, 2006 WL 901720, which rules and regulations took effect on

August 1, 2006. The requirements of (3) above are contained in § (b)(2)(E) of the Act and

incorporated into the Opt-Out Notice Requirements via § (b)(2)(D)(ii). Compliance with the Opt-

Out Notice Requirements is neither difficult nor costly. The Opt-Out Notice Requirements are

important consumer protections bestowed by Congress upon consumers and businesses, giving

them the right, and means, to stop unwanted fax advertisements.

       30.    2006 FCC Report and Order. The TCPA, in § (b)(2) of the Act, directed the

FCC to implement regulations regarding the TCPA, including the TCPA’s Opt-Out Notice




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Requirements and the FCC did so in its 2006 Report and Order, which in addition provides,

among other things:

                A.      The definition of, and the requirements for, an established business

         relationship (EBR) for purposes of the first of the three prongs of an exemption to

         liability under § (b)(1)(C)(i) of the Act and provides that the lack of an “established

         business relationship” precludes the ability to invoke the exemption contained in

         § (b)(1)(C) of the Act (see 2006 Report and Order ¶¶ 8-12 and 17-20);

                B.      The required means by which a recipient’s facsimile telephone number

         must be obtained for purposes of the second of the three prongs of the exemption under

         § (b)(1)(C)(ii) of the Act, and provides that the failure to comply with these requirements

         precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (see

         2006 Report and Order ¶¶ 13-16); and

                C.      The things that must be done in order to comply with the Opt-Out Notice

         Requirements for the purposes of the third of the three prongs of the exemption under

         § (b)(1)(C)(iii) of the Act, and provides that the failure to comply with these requirements

         precludes the ability to invoke the exemption contained in § (b)(1)(C) of the Act (see

         2006 Report and Order ¶¶ 24-34).

As a result thereof, a sender of a faxed advertisement who fails to comply with the Opt-Out

Notice Requirements cannot claim the exemption from liability contained in § (b)(C)(1) of the

Act.

         31.    The Faxes. During July and August 2019, Defendant sent the Faxes via facsimile

transmission from telephone facsimile machines, computers, or other devices to the telephone

lines and facsimile machines of Plaintiff and members of the Plaintiff Class. The Faxes




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constituted advertisements under the Act and the regulations implementing the Act. Defendant

failed to comply with the Opt-Out Requirements in connection with the Faxes. The Faxes were

transmitted to persons or entities without their prior express invitation or permission and

Defendant is precluded from sustaining the EBR safe harbor as to Plaintiff and other members of

the class because of the failure to comply with the Opt-Out Notice Requirements. By virtue

thereof, Defendant violated the TCPA and the regulations promulgated thereunder by sending

the Faxes via facsimile transmission to Plaintiff and members of the Class. Plaintiff seeks to

certify a class which includes these Faxes and all others sent during the four years prior to the

filing of this case through the present.

        32.     Defendant’s Other Violations. Plaintiff is informed and believes, and upon such

information and belief avers, that during the period preceding four years of the filing of this

Complaint and repeatedly thereafter, Defendant has sent via facsimile transmission from

telephone facsimile machines, computers, or other devices to telephone facsimile machines of

members of the Plaintiff Class other faxes that constitute advertisements under the TCPA and its

implementing regulations that were transmitted to persons or entities without their prior express

invitation or permission and without complying with the Opt-Out Notice Requirements. By

virtue thereof, Defendant violated the TCPA and the regulations promulgated thereunder.

Plaintiff is informed and believes, and upon such information and belief avers, that Defendant

may be continuing to send unsolicited advertisements via facsimile transmission in violation of

the TCPA and the regulations promulgated thereunder, and absent intervention by this Court,

will do so in the future.

        33.     The TCPA provides a private right of action to bring this action on behalf of

Plaintiff and the Plaintiff Class to redress Defendant’s violations of the Act, and provides for




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statutory damages. 47 U.S.C. § 227(b)(3). The Act also provides that injunctive relief is

appropriate. Id.

       34.     The TCPA is a strict liability statute, so Defendant is liable to Plaintiff and the

other class members even if their actions were only negligent.

       35.     Defendant knew or should have known that (a) Plaintiff and the other class

members had not given prior express invitation or permission for Defendant or anybody else to

fax advertisements about the availability or quality of Defendant’s property, goods or services;

(b) Defendant transmitted or caused to be transmitted the Fax advertisements; (c) the Faxes did

not contain the required Opt-Out Notice; and (d) Defendant’s transmission of unsolicited

advertisements that did not contain the required opt-out notice was unlawful.

       36.     Defendant’s actions caused damages to Plaintiff and the other class members.

Receiving Defendant’s junk faxes caused Plaintiff and the other recipients to lose paper and

toner consumed in the printing of Defendant’s faxes. Moreover, Defendant’s faxes occupied

Plaintiff's and the other class members’ telephone lines and fax machines. Defendant’s faxes cost

Plaintiff and the other class members time, as Plaintiff and the other class members and their

employees wasted their time receiving, reviewing, and routing Defendant’s unauthorized faxes.

That time otherwise would have been spent on Plaintiff's and the other class members’ business

or personal activities. Defendant’s faxes intruded into Plaintiff's and other class members’

seclusion and violated their right to privacy, including their interests in being left alone. Finally,

the injury and property damage sustained by Plaintiff and the other class members from the

sending of Defendant’s advertisements occurred outside of Defendant’s premises.




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       WHEREFORE,          Plaintiff,   SWETLIC       CHIROPRACTIC         &    REHABILITATION

CENTER, INC., individually and on behalf of all others similarly situated, demands judgment in

its favor and against Defendant, MEDICOPY SERVICES, INC., as follows:

       A.      That the Court adjudge and decree that the present case may be properly

maintained as a class action, appoint Plaintiff as the representative of the class, and appoint

Plaintiff’s counsel as counsel for the class;

       B.      That the Court award actual monetary loss from such violations or the sum of five

hundred dollars ($500.00) for each violation, whichever is greater, and that the Court award

treble damages of $1,500.00 if the violations are deemed “willful or knowing”;

       C.      That the Court enjoin Defendant from additional violations; and

       D.      That the Court award pre-judgment interest, costs, and such further relief as the

Court may deem just and proper.

       Dated: October 31, 2019.
                                                Respectfully submitted,

                                                SWETLIC CHIROPRACTIC &
                                                REHABILITATION CENTER, INC., an Ohio
                                                corporation, individually and as the representative
                                                of a class of similarly-situated persons

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                                                and




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